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				MEYER v. SMITH2015 OK 86Case Number: 114409Decided: 12/14/2015THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2015 OK 86, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 



KURT MEYER, Defendant/Petitioner,
v.
HONORABLE CLANCY SMITH, Presiding Judge, HONORABLE GARY L. LUMPKIN, Vice Presiding Judge, HONORABLE ARLENE JOHNSON, Judge, HONORABLE DAVID B. LEWIS, Judge, HONORABLE ROBERT L. HUDSON, Judge, and THE COURT OF CRIMINAL APPEALS OF THE STATE OF OKLAHOMA, Respondents.




ORDER


¶1 Original Jurisdiction is assumed. Article 7, Section 4 of the Oklahoma Constitution. Declaratory relief is hereby granted to provide for uniform computation of the time periods set forth in District Court Rule 15, 12 O.S.2011, Ch. 2, App., previously adopted by this Court to govern disqualification of judges in both civil and criminal proceedings. All time periods shall be computed based upon business days whether disqualification is sought in a civil or criminal case.


DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 14th DAY OF DECEMBER, 2015.



/S/CHIEF JUSTICE 



¶2 REIF, C.J., KAUGER, WATT, EDMONDSON, COLBERT, and GURICH, JJ., concur.

¶3 WINCHESTER and TAYLOR, JJ., dissent.

¶4 COMBS, V.C.J., disqualified.







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